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K.en Hughes

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Sherman Oaks, CA 9|423
818-667-559|
ken@digita|we|ders.com

UN[TED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

KAT!E CAZORLA, AN lNDlVlDUAL: WALTER Case No.: CV l4~021 lZ-MMM(CWX)
AFANASIEFF, AN INDiVlDUAL; THE PAINTED
NAIL LLC. A CALIFORNIA LIMITED LIABILITY
COMPANY; KATIE CAZORLADESIGNS, LLC, A

CALIFORNIA LIMITED LlABILITY COMPANY
SUPPLEMENTRAY DECLARATION PART TWO

Plaintiii`s, ORDER TO SHOW CAUSE RE PRELIMINARV
lNJUCTION

\'S.

KEN HUGHES. AN lNDlVlDUAL; AND DlGlTAL
WELDERS, AN ENTITY OF UNKNOWN FORM

Defendant

 

The defendant apologizes to the court for this last minute exhibit. however it is important to show
how plaintiffs truly behave despite the fact they continuously portray themselves as victims. The attached documenli
is an actual screen shot ofthe plaintiffs own social media dated 04-05-20|4 @ 02:55:| l where she retaliates
publical|y towards defendant with slander and purposely makes reference to the defendant as a ‘°CROOK”. This
was brought to the attention of defendant by one of his clients who follow plaintiffs social media The facts are
plaintiffs received domain names prior to defendant having any knowledge of court proceedings proving that no
han'n was to come to plaintiffs or respectively their businesses yet they have done the exact opposite causing
damage to defendant via social media. Defendant as per guidelines & terms of social media platform has reported

plaintif'f"s social media outburst as abuse.

Dated this 6th of Apri| 20|4.

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SUPPLEMENTRAY DECLARAT[ON PART TWO ORDER TO SHOW CAUSE RE PRELIMINARY
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Case 2:14-CV-02112-I\/|I\/|I\/|-CW Document 24 Filed 04/07/14 Page 2 of 3 Page |D #:219

EXHIBIT A

 

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